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Recipients submitted to the BNC (Bankruptcy Noticing Center):
db          Primary Providers of Alabama, Inc.            1861 Shellbrook Drive          Huntsville, AL 35806
cr          SONODYNAMICS, LLC                  4800 Whitesbrug Drive            Suite 30−185         Huntsville
cr          BancorpSouth Bank, a corporation            c/o James C. Cameron            P.O. Box 940        Guntersville, AL 35976
cr          West Madison Professional Plaza, LLC              c/o C. Paul Davis         Davis Law Firm, P.C.        5016 Littlebury
            Road SE         Huntsville, AL 35801
cr          Beckman Coulter Inc.           Attn: Lara S. Martin          707 Grant Street Suite 2200 Gulf Tower         Pittsburgh, PA
            15219
smg         Richard Blythe         BA Decatur           P O Box 3045           Decatur, AL 35602
9904021     *Bancorp South          401 Franklin Street          Huntsville, AL 35801
9904030     *Bancorp South          P.O. Box 789           Tupelo, MS 38802
9904035     *Blue Cross and Blue Shield of Alabama              P.O. Box 360387          Birmingham, AL 35236−0387
9904038     *Comphealth Associates, Inc.           CHG Healthcare Services, Inc.            7259 S. Bingham June
            Boulevard         Midvale, UT 84047
9904044     *Henry Schein         Dept CH 10241             Palatine, IL 60055−0241
9904051     *McKesson Medical Surgical            P.O. Box 660266             Dallas, TX 75266−0266
9904053     *Medical Billing Concepts           Attn: Julie Albright         1545 Blackhall Lane, SE         Decatur, AL
            35601−6917
9904060     *Moore Medical          P.O. Box 99718            Chicago, IL 60696
9904061     *Ocaria        600 Blvd South SW             Suite 305         Huntsville, AL 35802−2113
9904071     *Redstone Federal Credit Union            220 Wynn Drive            Huntsville, AL 35893
9904075     *Sanofi Pasteur, Inc.        12458 Collections Center Drive            Chicago, IL 60693
9904076     *Servis Biz Card Services          P.O. Box 84070            Columbus, GA 31908−4070
9904023     *ServisFirst Bank         850 Shades Creek Parkway, Ste. 200              Birmingham, AL 35209
9904078     *ServisFirst Bank         P.O. Box 1508           Birmingham, AL 35201
9904081     *SonoDynamics           4800 Whitesburg Drive             Suite 30−185         Huntsville, AL 35802
9904086     *The Hartford         P.O. Box 660916            Dallas, TX 75266−0916
9904089     *West Madison Professional Plaza LLC               100 Springton Drive          Madison, AL 35758
9904090     *Wilicam, Inc. dba Vanguard Cleaning              3755 Corporate Woods Drive            Birmingham, AL 35242
9904025     AAdvantage Aviator Mastercard             Card Services          P.O. Box 60517         City of Industry, CA 91716
9904024     Alabama Department of Revenue              Income Tax Division            P.O. Box 327460         Montgomery, AL
            36132
9904026     American Proficiency Institute          Dept. 9526          P.O. Box 30516          Lansing, MI 48909−8016
9904027     Anda, Inc.        P.O. Box 930219           Atlanta, GA 31193−0219
9904028     AnswerTel of Athens           216 S. Marion Street           Suite D        Athens, AL 35611
9904029     Audit MicroControls          P.O. Box 3369            Eatonton, GA 31024
9904031     Bancorp South         P. O. Box 789           Tupelo, MS 38802
9931840     BancorpSouth Bank, a corporation            c/o James C. Cameron            P.O. Box 940        Guntersville, AL
            35976
9904022     Bank Independent          P.O. Box 5000            Sheffield, AL 35660
10042655 Beckman Coulter Inc              c/o Bernstein−Burkley,P.C.            Attn: Lara S. Martin, Esq       707 Grant Street Ste
            2200, Gulf Tower          Pittsburgh, PA 15219
9904033     Beckman Coulter, Inc.          Dept. CH 10164            Palatine, IL 60044
9904032     Beckman Coulter, Inc.          Mail Code 42−B06             P.O. Box 189015          Miami, FL 33196
9904034     Bio−Rad Laboratories           P.O. Box 849740            Los Angeles, CA 90084−9740
9904036     Cintas Corp. #241         P.O. Box 630910            Cincinnati, OH 45263−0910
9904037     Citi COSTCO           P.O. Box 9001016            Louisville, KY 40290−1016
9904039     Doctors Exchange          P.O. Box 1330            Madisonville, LA 70447
9988879     Dr. Nancy Tarbox White            4525 Colewood Cir SE             Huntsville, AL 35802
9904040     Employment Screening Services             Dept. K          P.O. Box 830520         Birmingham, AL 35283
9904041     Evoqua Water Technologies LLC              26563 Network Place            Chicago, IL 60673
9904042     Finao Solutions        2006 Franklin Street           Suite 201        Huntsville, AL 35801
9929829     Hartford Fire Insurance Company             Bankruptcy Unit, NP−3 Hartford Plaza            Hartford, CR 06155
9904043     Henry Schein         Dept CH 14125             Palatine, IL 60055−4125
9904045     Horiba Medical         P.O. Box 512936             Los Angeles, CA 90051−0936
9904046     Huntsville Utilities       112 Spragins Street           Huntsville, AL 35801
9904847     Internal Revenue Service          P.O. Box 7346           Philadelphia, PA 19101−7346


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9904047   Jani−King SV Region           P.O. Box 6247          Huntsville, AL 35824
9904048   Katarina Allman         1861 Shellbrook Drive           Huntsville, AL 35806
9904049   Katarina Allman         1861 Shellbrook Drive           Huntsville, AL 35806
9904050   Lioce Group         2950 Drake Avenue           Huntsville, AL 35805
9956507   Lynda Hall, Tax Collector of Madison, CO AL              100 Northside Square, Room 116           Huntsville, AL
          35801
9904052   MDA Professional Group            P.O. Box 11407          Birmingham, AL 35246−0440
9980379   McKesson Medical−Surgical Inc             Stephanie Hampton           4345 Southpoint BLVD          Jacksonville, FL
          32216
9904054   Medical Systems          459 James Road          Hampton Cove, AL 35763
9904055   Merck Sharp & Dohma Corp.             P.O. Box 5254          Carol Stream, IL 60197−5254
9904056   Merge Healthcare          P.O. Box 205824           Dallas, TX 75320−5824
9904057   Methvin Terrell        2201 Arlington Avenue            Birmingham, AL 35205
9904058   Mirion Technologies          P.O. Box 101301          Pasadena, CA 91189−0005
9904059   Monrovia Investment Group            1892 Jeff Road          Huntsville, AL 35806
9904062   Ocaria         600 Blvd South SW          Suite 305         Huntsville, AL 35802−2113
9904063   Orkin         1035 Putman Drive NW            Suite F        Huntsville, AL 35816
9904064   Pfizer        P.O. Box 100539          Atlanta, GA 30384−0539
9904065   Pfizer        P.O. Box 100539          Atlanta, GA 30384−0539
9904066   Pitney Bowes         P.O. Box 371896           Pittsburgh, PA 15250−7896
9904067   Pitney Bowes         P.O. Box 371896           Pittsburgh, PA 15250−7896
9904073   RJYoung           MSC7511          P.O. Box 415000           Nashville, TN 37241−7511
9904068   Radiation Detection Co.         3527 Snead Drive           Georgetown, TX 78626
9904069   Radiology of Huntsville         2006 Franklin Street         Suite 200        Huntsville, AL 35801
9904070   Redstone FCU          220 Wynn Dr NW             Huntsville, AL 35893
9904072   Ricoh USA, Inc.         P.O. Box 532530           Atlanta, GA 30353−2530
9904074   Sanofi Pasteur Inc        12458 Collections Center Drive           Chicago, IL 60693
9948859   Sanofi Pasteur Inc.        Discovery Dr.         Swiftwater, PA 18370
9904846   Secretary of the Treasury        1500 Pennsylvania Ave., NW             Washington, DC 20220
9992143   ServisFirst Bank        401 Meridian Street, Suite 100          Huntsville, AL 35802
9904077   ServisFirst Bank        850 Shades Creek Parkway, Ste. 200             Birmingham, AL 35209
9904079   Shred−It         28883 Network Place          Chicago, IL 60673−1288
9904080   Sirote        P.O. Box 55509         Birmingham, AL 35255−5509
9965678   SonoDynamics, LLC            4800 Whitesburg Dr., Suite 30−185            Huntsville, AL 35802
9904082   Stericycle Stericycle ComSol          26604 Network Place           Chicago, IL 60673
9904083   Stericycle, Inc.      P.O. Box 6582          Carol Stream, IL 60197−6582
9904084   Stericycle, Inc.      P.O. Box 6582          Carol Stream, IL 60197−6582
9904085   Stericycle, Inc.      P.O. Box 6582          Carol Stream, IL 60197−6582
9992404   The West Madison Professional Plaza, LLC             c/o C. Paul Davis        Davis Law Firm, P.C.         5016 Littlebury
          Road SE          Huntsville, AL 35802
9904845   U.S. Securities and Exchange Commission             Regional Director, Branch of Reorganizat         Atlanta Regional
          Office, Suite 900        950 East Paces Ferry Road           Atlanta, GA 30326
9904848   United States Attorney         Northern District of Alabama           1801 Fourth Avenue North         Birmingham, AL
          35203
9904849   United States Bankruptcy Administrator           Northern District of Alabama          1800 Fifth Avenue
          North         Birmingham, AL 35203
9904087   West Interactive Services Corp          700 14th Street        Denver, CO 80256−0001
9955978   West Interactive Services Corporation          11808 Miracle Hills Dr         Omaha Ne 68154          Omaha, NE
          68154
9904088   West Madison Professional Plaza           100 Springton Drive          Madison, AL 35758
                                                                                                                       TOTAL: 92




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